                Case 1:04-cr-05353-AWI Document 87 Filed 11/02/06 Page 1 of 2


1
2
3
4
                                     IN THE UNITED STATES DISTRICT COURT
5
                                   FOR THE EASTERN DISTRICT OF CALIFORNIA
6
7
     UNITED STATES OF AMERICA,             )                   NO. 1:04-cr-5353 AWI
8                                          )
                       Plaintiff,          )                   ORDER ON STIPULATION TO CONTINUE MOTIONS AND
9                                          )                   STATUS CONFERENCE HEARINGS; AND CONTINUE
           v.                              )                   DEFENDANT’S OPTIONAL REPLY TO PLAINTIFF’S RESPONSE
10                                         )                   TO MOTION; AND PROPOSED ORDER THEREON
     VINA MARIE BASILE, et al.,            )
11                                         )                   Date: November 13, 2006
                       Defendants.         )                   Time: 9:00 a.m.
12   _____________________________________ )                   Judge: Hon. Anthony W. Ishii
13
             On November 2, 2006, the parties in the above titled action filed the following stipulation:
14
15
             IT IS HEREBY STIPULATED by and between the parties hereto, and through their respective counsel
16
     herein, that the Motion and Status Conference Hearings scheduled for November 6, 2006 are hereby continued to
17
     November 13, 2006 at 9:00 a.m.
18
             IT IS FURTHER STIPULATED by and between the parties hereto, and through their respective
19
     counsel herein, that defendant’s reply to plaintiff’s response to defendant’s motions is hereby continued from
20
     October 30, 2006 to November 6, 2006.
21
             The parties agree that the delay resulting from the continuance shall be excluded in the interests of justice,
22
     including but not limited to, the need for the period of time set forth herein for effective defense
23
     preparation pursuant to 18 U.S.C. § 3161(h)(8)(A).
24
             DATED: November 2, 2006                              MCGREGOR W. SCOTT
25                                                                  United States Attorney

26
                                                                      By /s/ Mark J. McKeon
27                                                                       MARK J. McKEON
                                                                         Assistant U.S. Attorney
28                                                                       Attorney for Plaintiff
                Case 1:04-cr-05353-AWI Document 87 Filed 11/02/06 Page 2 of 2


1            DATED: November 2, 2 0 0 6                            DANIEL J. BRODERICK
                                                                   Federal Public Defender
2
3                                                                  By /s/ Mark A. Lizárraga
                                                                       MARK A. LIZÁRRAGA
4                                                                      Assistant Federal Defender
                                                                       Attorney for Defendant
5                                                                     VINA MARIE BASILE

6
7                                                            ORDER
8            In accordance with the above stipulation, IT IS SO ORDERED. Time is excluded in the interests
9    of justice pursuant to 18 U.S.C. § 3161(h)(8)(B)(iv).
10
11   IT IS SO ORDERED.
12   Dated:      November 2, 2006                            /s/ Anthony W. Ishii
     0m8i78                                            UNITED STATES DISTRICT JUDGE
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
     Stipulation to Continue Motions and Status Conference
     Hearings; and Continue Defendant’s Optional
     Reply to Plaintiff’s Response to Motions                  2
